                     Case 1:08-cr-00215-MEF-SRW Document 160 Filed 06/12/09 Page 1 of 6
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama

            UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                           I
                                  V.                                       )
               KARLA LOPEZ-HERRERA
                                                                                  Case Number:            1 :08CR215-MEF-04

                                                                           ) USM Number:       12572-002
                                                                           )
                                                                           )   Thomas K. Brantley
                                                                                   Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1 of the Indictment on 3/16/2009
U pleaded nob contendere to count(s)
  which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended               Count

                                  Conspiracy to Possess With Intent to Distribute
21:846                            Methamphetamine                                                            10/8/2008                      1




       The defendant is sentenced as provided in pages 2 through                  6        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s) __________________________________________
X Count(s) 3 of the Indictment                           X is 0 are dismissed on the motion of the United States.

         It is ordered that the defendant must notif' the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are thily paid. If ordered to pay restitution,
the defendant must notif' the court and United States attorney of material changes in economic circumstances.

                                                                           June 11, 2009
                                                                           Date of Imposition of




                                                                           Signature of




                                                                           MARK E. FULLER, CHIEF U.S. DISTRICT JUDGE
                                                                           Name and Title of Judge


                                                                                          /2- ..Y- z-o
                                                                           Date
                    Case 1:08-cr-00215-MEF-SRW Document 160 Filed 06/12/09 Page 2 of 6
AO 245B (Rev. 09/08) Judgment in Criminal Case
          Sheet 2— Imprisonment
                                                                                                    Judgment - Page    2   of   6
 DEFENDANT:                  KARLA LOPEZ-HERRERA
 CASE NUMBER:                1:08CR215-MEF-04


                                                          IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:


 Twenty four (24) months.


    X The court makes the following recommendations to the Bureau of Prisons:

         The Court recommends that defendant receive vocational and educational training. Defendant shall receive
         educational training for Hispanic speaking individuals to learn English as a second language as available.


    X The defendant is remanded to the custody of the United States Marshal.

     U The defendant shall surrender to the United States Marshal for this district:
         oat ____________________ 0 a.m. 0 p.m. on

         0 as notified by the United States Marshal.

     0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         0 before 2 p.m. on
         0 as notified by the United States Marshal.

         0 as notified by the Probation or Pretrial Services Office.

                                                                RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                        to

a___________________________________ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                       By
                                                                                            DEPUTY           STATES MARSHAL
                     Case 1:08-cr-00215-MEF-SRW Document 160 Filed 06/12/09 Page 3 of 6
AO 245B (Rev. 09/08) Judgment in a Cnminal Case
        Sheet 3 - Supervised Release
                                                                                                          Judgment—Page       3     of        6
DEFENDANF:                  KARLA LOPEZ-IIERRERA
CASE NUMBER:                1:08CR215-MEF-04
                                                       SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:           Three (3) years.



          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 [J The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, ((applicable.)
 X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check; ((applicable.)
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ((applicable.)

        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, ((applicable.)

 D The defendant shall participate in an approved program for domestic violence. (Check. ((applicable)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
   I) the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
         each month;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the probation officer;
  10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
  11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and

  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or ,personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3C - Supervisul Release
                                                                                       Judgment—Page    4    of        6
DEFENDANT:   KABLA LOPEZ-HERRERA
CASE NUMBER: 1:08CR215-MEF-04

                                        SPECIAL CONDITIONS OF SUPERVISION
Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this
Court.
In light of defendant's illegal status, upon completion of the terni of imprisonment, defendant shall be remanded to
the custody of the Bureau of Immigration and Customs Enforcement for deportation proceedings in accordance with
the Immigration and Nationality Act. If deported, (a) the term of supervision shall be non-reporting while defendant
lives outside the United States; (b) defendant shall not illegally reenter the United States; and (c)if defendant should
reenter the United States during the term of supervised release, defendant shall report to the nearest U.S. Probation
Office within 72 hours of arrival.
                      Case 1:08-cr-00215-MEF-SRW Document 160 Filed 06/12/09 Page 5 of 6
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5—Criminal Monetary Penalties
                                                                                                     Judgment - Page     5       of        6
DEFENDANT:                         KARLA LOPEZ-IIERRERA
CASE NUMBER:                       1:08CR215-MEF-04
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetaiy penalties under the schedule of payments on Sheet 6.

                      Assessment                                    Fine                                  Restitution
 TOTALS            $ 100.00                                        $0                                    $0


 o The determination of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
   after such determination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                 Total Loss*                     Restitution Ordered                     Priority or Percentage




 TOTALS                              $ ________________                    $


 0 Restitution amount ordered pursuant to plea agreement $

 0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 0 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       0 the interest requirement is waived for the 0 fine 0 restitution.
       0 the interest requirement for the 0 fine 0 restitution is modified as follows:



 * Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6— Schedule of Payments
                                                                                                         Judgment—Page        6     of       6
DEFENDANT:   KARLA LOPEZ-HERRERA
CASE NUMBER: 1:08CR215-MEF-04

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A X Lump sum payment of$ 100.00                              due immediately, balance due

           [J not later than __________________________ , or
           X in accordance          [J C, 0 D, 0 E, or x F below; or
B 0 Payment to begin immediately (may be combined with 0 C,                          0 D, or 0 F below); or
C D Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $        ____________ over a period of
      ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or
D 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $          __________- over a period of
      ____________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from imprisonment to a
       term of supervision; or

E 0 Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F X Special instructions regarding the payment of criminal monetary penalties:

           Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O.
           Box 711, Montgomery, AL 36101.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 o Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0 The defendant shall pay the cost of prosecution.

O The defendant shall pay the following court cost(s):

o The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
